                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CRIMINAL DOCKET NO. 3:05CR104 V


UNITED STATES OF AM ERICA                 )
                                          )
              vs.                         )
                                          )
                                          )                    ORDER
GABRIEL ROM ERO (1)                    )
JULIO M ORA VEGA (2)                   )
AM OS CALVIN HALL, JR. (4)             )
KOJI S. STEW ARD (5)                   )
KELVIN BEAUFORT (8)                    )
ALLEN M ARSHELL M cCALL, JR. (10)      )
M ALCOLM DAW SON (11)                  )
BRIAN JEROM E W ISE (14)               )
SONKARLAY LORENZO M cCALL (15)         )
HOW ARD EDW ARD M cCALL (16)           )
RODGRICK FRIESON (18)                  )
FRANK W OOD THOM AS (19)               )
GRADY DONNELL EADES (20)               )
PHILLIP BROW N (23)                    )
_______________________________________)



       THIS MATTER is before the Court on its own motion to continue the captioned
criminal matter from the 23 January 2006 criminal term in the Charlotte Division.
       The Court finds that the Defendants' cases are "joined for trial with a co-defendant
as to whom the time for trial has not run and no motion for severance has been granted,"
18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends
of justice served by taking such action outweigh the best interest of the public and the
Defendants to a speedy trial.
       IT IS, THEREFORE, ORDERED that this case is hereby continued from the
January 2006 criminal term in the Charlotte Division to the 20 March 2006 term in the
Charlotte Division.




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                        Signed: January 11, 2006




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